                                                   108TH DISTRICT COURT
            Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                      Page 1 of 20 PageID 6
                                                CASE SUMMARY
                                                CASE NO. 106231-00-E
 DANNY PRICE GARRETT VS. JAMES WALTER                            §               Location: 108th District Court
 CAVE AND EAN HOLDINGS, LLC                                      §               Filed on: 02/23/2017
                                                                 §
                                                                 §

                                                      CASE INFORMATION

File Date 02/23/2017                                                                         Personal Injury and Property
                                                                                Case Type:
Cause of Action                  Description/Remedy                                          Damage-Motor Vehicle
Personal Injury and Property
                                 Action
Damage


     DATE                                             CASE ASSIGNMENT

                   Current Case Assignment
                   Case Number                    106231-00-E
                   Court                          108th District Court
                   Date Assigned                  02/23/2017



                                                     PARTY INFORMATION
                                                                                                   Lead Attorneys
Plaintiff              GARRETT, DANNY PRICE                                                      QUACKENBUSH, JESSE
                                                                                                                  Retained
                                                                                                         806-374-4024(W)

                       GARRETT, DANNY PRICE

Defendant              CAVE, JAMES WALTER
                       CAVE, JAMES WALTER

                       EAN, HOLDINGS LLC                                                               SMITH, BRETT A.
                                                                                                                 Retained
                                                                                                         972-934-9100(W)

     DATE                                     EVENTS & ORDERS OF THE COURT                                  INDEX

  02/23/2017       Cause of Action   Personal Injury and Property Damage   ()
                    Action Type                  Action
  02/23/2017      PREPARE DOCKET SHEET
                    PREPARE DOCKET SHEET Init: KM

  02/23/2017      DISCOVERY LEVEL 3
                    DISCOVERY LEVEL 3 Init: KM

  02/23/2017      FILE EFILE LOG #: ^
                     FILE EFILE LOG #: 015494745-0 Init: KM

  02/23/2017      FILE CIVIL COVER SHEET
                     FILE CIVIL COVER SHEET Init: KM

  02/23/2017      File Document:
                     FILE: REQUEST FOR ISSUANCE JAMES WALTER CAVE Init: KM

  02/23/2017      File Document:
                     FILE: REQUEST FOR ISSUANCE EAN HOLDINGS, LLC Init: KM

  02/23/2017      FILE PLAINTIFF'S ORIGINAL PETITION/DC^



                                                           PAGE 1 OF 2                                  Printed on 03/30/2017 at 12:54 PM
                                                108TH DISTRICT COURT
     Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                                Page 2 of 20 PageID 7
                                             CASE SUMMARY
                                             CASE NO. 106231-00-E
                FILE PLAINTIFF'S ORIGINAL PETITION/DC Init: KM

02/23/2017   Civil Case Filed (OCA)

02/27/2017   CHECK OUT DOCKET SHEET TO: ^
               CHECK OUT DOCKET SHEET TO: COURT NEW CASE Init: KM

02/27/2017   MAIL: ^
               MAIL: CITATION BY CERTIFIED MAIL TO: EAN HOLDINGS, LLC ARTICLE NO 9414
               7266 9904 2080 6472 31 Init: KM

02/27/2017   EMAIL ^
               EMAIL CITATION TO ATTORNEY FOR JAMES WALTER CAVE Init: KM

02/28/2017   File Document:
                FILE: CONFIRMATION OF DELIVERY OF CITATION VIA EMAIL Init: KM

03/01/2017   FILE CERTIFIED MAIL POSTAGE RECEIPT ^
                FILE CERTIFIED MAIL POSTAGE RECEIPT ARTICLE NO 9414 7266 9904 2080 6472 21
                ADRESSED TO: EAN HOLDINGS, LLC Init: KM

03/17/2017       RECORD CITATION CERTIFIED MAIL
                ean Holdings, LLC, served on 3/2/17. Article No. 9414 7266 9904 2080 6472 21. Signed by
                Adelia ?

03/23/2017        Request for Copies and/or Search for Potter County
                (copy of Original petition & Return citation for Ean Holdgins LLC)

03/23/2017   Other Action:
                email confirmation for delivery of documents

03/24/2017   E File Log                                                                                     Instrument#
                Paid by:: Attorney SMITH, BRETT A.                                                          016062509-0
                016062509-0


03/24/2017   Defendant/s Original Answer
                Defendant Enterprise Leasing Company of Chicago, LLC, Incorrectly named as Holdings,
                LLC's Original Answer (Enterprise Leasing Company of Chicago, LLC, Incorrectly names as
                Ean Holdings, LLC)
  DATE                                                FINANCIAL INFORMATION

             Attorney SMITH, BRETT A.
             Total Charges                                                                                             2.00
             Total Payments and Credits                                                                                2.00
             Balance Due as of 3/30/2017                                                                               0.00

             Plaintiff GARRETT, DANNY PRICE
             Total Charges                                                                                           443.50
             Total Payments and Credits                                                                              443.50
             Balance Due as of 3/30/2017                                                                               0.00




                                                        PAGE 2 OF 2                                       Printed on 03/30/2017 at 12:54 PM
               Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                                                                              Page 3 of 20 PageID 8

                                                                       CIVIL CASE INFORMATION SHEET
                                                                      106231-E
                CAUSE NIJMDER (FOR CI.ERK USE O N L Y ) : - - - - - - - - - - - - - COURT (FOR CLERK USE O N L Y ) ; - - - - - - - -


                    STYLED       f2a111 n\r Pric.e Otir&-Lch_~                                                   eA'Il    1·                                              ,c. .                       -
          ..        .        .       --r.:ih. John Smith v. All American Insurance Co; In re Mary Ann Jones: In the Maner of the Estate ofGeo                    e Jackson)
       A CIVIl case mformatlon sh~t must be C?~pleted and submitted when an original petition or application is filed to initiate a new civil, family law, probate, o~ mental
       heallh case or when a post-Judgment pettlton for modtlic-atton or motion for enforcement is filed in a family law case. The information should be the best avatfable at
       the time of filiJL
                                 -         -          <=!Ia,.. _..,.....,...,

   I. Contact information for person completing case informllfion sheet:                         Names of parties in case:                                        PersiJn or entitv completina sbed is:
                                                                                                                                                        ~~ttomcy for Plaintiff/Petitioner
   Name:                                           Email:                                        Plaintift~s)!Petitioncr(s):                                0Pro Se Plaintiff/Petitioner

  -Jesse Quac\<£11.D~ :S8$seQlf@EtMA-iL.COM                                                            frl\Vltl~lI     Pric etavY-e t.
                                                                                                                                                            OTitic IV-D Agency
                                                                                                                                                            00ther:_

   Address:                                       Telephone:

  tO\ S.p, \\ moce}te. 4-loO f20{o ~ 2f~~ 40 lY:                                                                                                            Additional Parties in Child Support Case:

                                                                                                 Defendant(s)!Respondent(s):                                Custodial Parent:
  City/State/Zip:                                 fax:

  ~ovi\\oJ>l191DJ                                 ?20(r ?5(1-DOt?
                                                                                                  -sa.Wit~           Wlll.H-e1 CIA~
                                                                                                                                                            Non-Custodial Parent:
                                                                                             ..£a\1J1nldit1~ ~ laf-.C
 ja:_                                             State Bar No:
                                                                                                                                                            --                       --

                    ~
                                                                                                                                                            Presumed Father:
                                                 Ualll~t-'5                                                        -
   j                                                                                         lAltach additionaJ JJage as necessuy to lis IaU parties]
                                                                                                                                                  --                                                        -
  1. lodl~te -(~;~-1;.~ or identify Ihe most im(!ortantlssue in the cas;(;elect onlv D:                                                                 -
                                                         Civil                                                                                                     Familvlaw
                                                                                                                                                                                 Pos;.·judgmeut Actions
            Contract                            lnhirv or Damal!e                         Real Prooertv                         Marrial!'e Relatioosbio                          · uo.ii-Tilfe IV·D)
  Debt/Contract                            OAssault/Battery                        OEminent Domain/                            QAnnulment                                     lJEnforcement
    0Consumer/DTPA                         0Construction                              Condemnation                             0Declare Marriage Void                          0Modification-Custody
    0Deb11Contract                         0Defaunation                            0Partition                                  Divorce                                         0Modification-other
    0Fraud/Misrcpresentation               Malpractice                             DQuietTitle                                   0With Children                                      · Tille IV-D
    00ther Debt/Contract:                    0Accounting                           OTrespa">.~ to Try Title                      ONoChildren                                  OEnforcemeni/Modification
                                             OLegal                                00ther Property:                                                                           0Patemity
 Foreclosure                                OMedical                                                                                                                          0Reciprocals (UlFSA)
   0Home Equity-Expedited                   00ther Professional                                                                                                               0Support Order
   00ther For~'CIOsure                         Liability:
 0Fr.mchise                                                                             Related to Criminal
 0Insurance                                ~!Yiotor Vehicle Accident                             Matters                         Other Familv Law                              Parent-Child Rtlatl11nsbip
 OLand lord/Tenant                         0Premises                               QExpunction                                 OEnforcc Foreign                               0Adoption/Adoption with
 0Non-Competition                          Product Liability                       0Judgmem Nisi                                 Judgment                                       Termination
 0Partncrship                                0Asbestos/Silica                      0Non-Disclosure                             0Habeas Corpus                                 0Child Protection
 OOther Contract:                           OOthcr Product Liability               0Seizurc/Forfeiture                         0Name Change                                   0Child Support
                                                List Product:                      0Writ of Habeas Corpus-                     0Protective Order                              0Custody or Visitation
                                                                                     Pre-indictment                            0Removal of Disabilities                       0Gestationall'arenting
                                          00ther Injury or Damage:                 00ther:                                       of Minority                                  0Grandparent Access
                                                                                                                               00ther:                                        0Parcntagd?atemily
                                                                                                                                                                              0Termination of Parental
                                                                        Other Civil                                                                                             Rights
        Employment
                                                                                                                                                                              OOther Parent-Child:
0Discrimination                            0Administrative Appeal               OLawyer Discipline
0Retaliation                               0Antitrust!Unfair                    0Perpetuate Testimony
0Tennination                                  Competition                       0Securities/Stock
0Workers' Compensation                     0Code Violations                     OTortious Interference
                                                                                                                                                        Filed
00ther Employment:                         0Foreign Judgment
                                           0 Intellectual Property
                                                                                00ther:
                                                                                                                                                        Caro            inew-:GZrn
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                                                                                                         ·=                              -         -                                      -- --   ~




            Ta"                                                                                         Probate & Mental Health                         '>l'>?.l'>fH 7 'l·f\f\·?~ Pl\11
 0Tax Appraisal                            Probate/Willsllnteslale Adminislralion                                      0Guardianship-Adult-"    "''"   ·   •
 OTax Delinquency                            0Dependent Administration                                                 0Guardianship--Minor Potter County' Texas
 00therTax                                   Otndependent Administration                                               OMental Health       By       ~   Deputy
                                             OOther Estate Proceedings

J. lodkate_proctdure or remedv, if appliCJabfe (nuw seled moMthtUt ll:
                                                              ODeclaratory Judgment
                                                                                         ~~
                                                                                                                       OOUter:


                                                                                                                  0Prejudgment Remedy
                                                                                                                                          ~
                                                                                                                                               '-.)
                                                                                                                                                                                    -
  0Appeal from Municipal or Justice Court
 0Arbitration-related                                         0Gamishment                                         0Protective Order
 0Attachment                                                  0Interplcader                                       0Receiver
 0Bill of Review                                              OLicense                                            0Sequestration
 0Certiorari                                                  0Mandamus                                           0Tcmporary Restraining Order/lnjwlction
 0Class Action                                                OJ>ost-judgment                                     0Tumover
4. Indicate dam11aes sought (do not select if it is 11 family law ca.w\:
 0Lcss than $100.000, including damages of any kind, penalties, costs, expenses. pre-judgment interest. and attorney fees
 0Less than $100,000 and non-monetary relief
 DOver $100,000 but not more than $200,000
 ~cr $200,000 but not more than $1,000,000
      _cr $1.000,000              .
                                                                      -                                                                                                                           Rev 2/U
         Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                     Page 4 of 20 PageID 9
DJG                                                                                                 Filed
                                                                                                    Caroline Woodburn
                                                                                                    District Clerk
                                                                                                    2/23/2017 3:00:25 PM
                                             CAUSE N 0. _106231-E
                                                         _ _ __                                     Potter County, Texas
                                                                                                    By~Deputy
       DANNY PRICE GARRETT,                           §            IN THE   108th     0ISTRICT COURT            '\..];
               PLAINTIFF                              §

                                                                                                                    ~
                                                      §
       vs.                                            §            IN AND FOR
                                                      §
       JAMES WALTER CAVE ANDEAN                       §
       HOLDINGS, LLC,                                 §
               DEFENDANTS                             §            POTTER COUNTY, TEXAS


                                        PLAINTIFF'S ORIGINAL PETITION

      To TI-lE HONORABLE JUDGE          OF SAil> COURT:

             CoMES Now, DANNY PRICI'~ GARRETT,            hereinafter referred to as Plaintiff complaining of

      ,JAMES W ALTEll. CAvg ANI> EAN HOLI>INGS, LLC,           hereinafter referred to as Defendants and for

      cause of action would respectfully show unto this Honorable Court and Jury as follows:

                                                          I.
                                         DISCOVERY LEVJi~L ELECTION

              1.01      Plaintiff intends to conduct discovery under Level3 pursuant to Rule 190.3 ofthe

      Texas Rules of Civil Procedure.

                                                          H.
                                                   PARTIES

              2.02      Plaintiff, ))ANNY PRICF: GARUETT, is a resident citizen of Amarillo, Randall

      County 'Texas. The last four digits of Plaintiff's driver's license are 4490.

              2.03    Defendant,   JAMES WALTER CAVE,          is a resident citizen of Winsford, England.

      Service of process may be had by serving this Defendant at his residential address located at 80

      Chester Road, Winsford, CW7 2NQ, United Kingdom, England. The last four digits of

      Defendant's driver's license are 9HY3.




      PLAINTIFF'S ORIGINAl. I'ETITION                                                           Page I
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         2.04      Defendant, EAN HOI,DINGS, LLC, is a Oklahoma Corporation doing business

 throughout the State of Texas and may be served with process by serving its registered agent, The

 Corporation Company, 1833 South Morgan Road, Oklahoma City, OK 73128.

                                                 111.
                                      METHOD OF SERVICE

         3.05      Plaintiff requests that the Potter County District Clerk issue citations and serve

 the Defendant, EAN HOLDINGS, LLC with a copy ofthis Petition by certified mail- return receipt

 requested. Plaintiff requests that the Potter County District Clerk issue citation and allow Mr.

 Andrew Green an agent of Across the Pond Service, 12 Brighton, Ben Rhydding, llkley, L529

 8P5, England to serve Defendant,     JAMES WALTER CAVE        with a copy of the citation and this

, petition by hand delivery.

                                                 IV.
                                  JUIUSDICTION ANI) VENUE.

        4.06      This suit is brought as a result of an automobile accident which occurred in

Amarillo, Potter County, Texas.

        4.07    This case is brought pursuant to common law and statutory laws regarding traffic

regulation in the State ofTcxas and specifically the Texas Traffic Code.

        4.08      Plaintiff seeks monetary damages far in excess of the minimum jurisdictional

limits of this Court: monetary relief of more than $200,000.00 but less than $1,000,000.00,

including damages of any kind, penalties, costs, expenses and pre-judgment interest.




PI.AINTWF'S ORIGINAL i>KITfiON                                                           Pagc2
     Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                    Page 6 of 20 PageID 11



                                                   v.
                                          Ot>ERATIVE FACTS


           5.09     On or about the 10111 day of October, 2016, at approximately 10:10 a.m., Plaintiff

was traveling west in the left lane of the IH 40 service road. Defendant,      JAMI~S WALTER CAVE


was traveling west in the right lane of the II-I 40 service road. As both units approached the

intersection with Hope Road, suddenly and without warning, Defendant,          JAMI~S WALTER CAVE


attempted to make a left turn from the right lane and caused a collision. Defendant,            JAMES


WALTER CAVE'S        vehicle spun around and came to rest facing southeast in the left lane. Plaintiff's

vehicle went to the right and came to rest in some trees facing northeast. Plaintiff was severely

injured.

                                                   VI.
                    NEGLIGENCE OF DEFENDANT, JAMES WALTER CAVE

        6.10      At all times relevant and material hereto, Defendant, JAMES WALTER CAVE, was

negligent in failing to do the following things, either singularly or in combination, which directly

and proximately caused the accident made the basis of this lawsuit:

A.    COMMONLAW:


        1)        Failed to keep a proper lookout for other vehicles and in particular Plaintiff's
                  vehicle;
        2)        Failed to yield the right of wny - turning left; and
        3)        Failed to tal<e evasive action such as stcel'ing his vehicle to the left or to the
                  right to avoid colliding with Plaintiff's vehicle.

        6.11      The above-listed negligent acts and/or omissions of Defendant,      JAMES WALTER


CAVE,   directly and proximately caused the injuries and damages sustained by Plaintiff which arc

more particularly described below.

H.    STATUTORY LAW:


        6.12      At all time relevant and material hereto, the Defendant     JAMES WALTER CAVE


negligently violated the following statutory traflic laws in Texas, either singularly or in

I~LAINTIFI"'S ORIGINAL l'KilTION                                                            Pagc3
  Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                  Page 7 of 20 PageID 12



combination, which directly and proximately caused the accident made the basis of this lawsuit

        1.     §545.151 VImiCLF~ AJ>J>ROACHING OR ENTEIUNG INTERSECTION

                   An operator approaching an intct·scction:
                      (1) Shall stop, yield, ami grant immediate usc of the intersection:
                          (A) In obedience to an official traffic-control device, including a stop
                              sign or yield right-of-way sign; or


                             (ll) If a traffic-control signal is present but docs not display an
                                  indication in any of the signal heads; and
                         (2) after stopping, may proceed when the intersection can be safely
                             entered without interference or collision with tmffic using a
                             different street or roadway.
                (a) An operator on a single-lane or two-lane street or roadway who
                    apt>roaches an intersection that is not controlled by an official traffic-
                    control device and that is located on a divided highway or on a sta·eet or
                     roadway divided into tht·ee or more marked traffic lanes:
                        (1) Shall stop, yield, and ga·ant immediate usc of the intersection to a
                             vehicle on the other street or roadway that is within the intersection
                             or approaching the intersection in such proximity as to be a hazard;
                             and
                        (2) After stopping, may proceed when the intersection can be safely
                             entered without interference or collision with traffic using a
                             different street or roadway.
               (b) An opcrat01·, may proceed when the intersection can be safely entered
                    without interference or collision with traffic using a different street or
                    ..oadway:
                        (1) Shall stop, yield, and grant immediate use of the intersection to a
                             vehicle on the paved street or roadway that is within the intersection
                             or a()proaching the intersection in such proximity as to be a bazat·d;
                             and
                        (2) After stopping, may proceed when the intersection can be safely
                             entered interference or collision with traffic using the paved street
                             or roadway.
               (c) Except as provide in Subsection (e), an operator approaching an
                    intersection of a street or ..oadway that is not controlled by an official
                    traffic-control device:
                        (1) Shall stO(), yield, and grant immediate usc of the intersection to a
                            vehicle that has entered the intersection from the operator's right
                             or is appt·oaching tbe intca·section from the operator's right in a
                             proximity that is a hazard; and
                        (2) After stopping, may proceed when the intersection can be safely
                            entered without interference or collision with traffic using a
                            different street or roadway.
               (d) An operator approaching an intersection of a street ot· roadway from a


PLAINTIFF'S ORIGINAL PETITION                                                          Pagc4
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                     street or roadway that terminates at the intersection and that is not
                     controlled by an official traffic-control device or controlled as provided by
                     Subsection (b) or (c):
                         (l) Shall stop, yield, and grant immediate usc of the inte1·scction to
                             another vehicle that has entered the intersection from the other
                             street or roadway or is approaching the intersection on the other
                             street or roadway in a proximity that is a hazard; and
                         (2) After stopping, may proceed when the intersection can be safely
                             entered without interference or collision with the traffic using the
                             other street or roadway.
                 (c) An operator who is required by this section to stop and yield the right-of~
                     way at an intersection to another vehicle and who is involved in a collision
                     or intcrfet•es with other traffic at the intersection to whom right-of-way is
                     to be given is presumed not to have yielded the right-of-way.

       Acts 1995, 74 111 Leg., ch. 165, Sec. 1, eff. Sept. 1, 1995. Amended by Acts 2003, 78 111
Leg., ch. 1325, Sec. 19.05, cff. Sept. 1, 2003.

        2.      §545.103 SAI•'ELY TURNING

       An operator may not turn the vehicle to enter a private road or driveway, othenvise
turn the vehicle from a direct com·sc, or move right or left on a roadway unless movement
can be made safely.
              Acts 1995, 74 111 Leg., cb. 165, § 1, eff. Sept. 1, 1995.

                                                 VII.
                               NEGLIGENCE OF EAN HOLDINGS, LLC

        7.13     The vehicle driven by JAMES WALTER CAVE was owned by EAN HOLDINGS,

LLC.

        7.14     At the time and place ofthe occurrence made the basis of this lawsuit, Defendants

failed to exercise that degree of care imposed upon them by law. Defendants were jointly burdened

with the duty to exercise ordinary care in the operation of motor vehicles in the State of Texas.

Such failure by Defendants resulted in an unreasonable risk of harm to other drivers and in

particular to Plaintiff, thereby making Defendants jointly and severally liable for all injuries and

damages sustained by Plaintiff.

        7.15        Plaintiff will show that all times relevant and material hereto, Defendant .JAMES

W ALTElt CAVE had permission and authority from Defendant, EAN HOLDINGS, LLC to use the


J>LAINTII'F'S 0RJ(;JNAL PETITION                                                         PageS
  Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                   Page 9 of 20 PageID 14



 vehicle he was driving just prior to and at the time of the collision made the basis of this lawsuit.

 In that regard, Plaintiff will show that Defendant, JAMES WALTER CAVE was driving a white 2016

 Chevrolet Traverse, VIN I GNKRHKD9GJ266044, which was owned by Defendant KAN

 HOLI>INGS LLC.       Plaintiif will show at trial that EAN HOLDINGS, LLC knew that .JAMES

 WALTER CAVE had been operating his vehicle and he was authorized to do so just prior to and at

 the time of the collision made the basis of this lawsuit.

        7.16     Further, Plaintiff will show at trial that EAN HOLDINGS, LLC had negligently

entrusted the vehicle in question to Defendant JAMES WALTER CAVE, who they knew or should

have known was a reckless, unlicensed and/or incompetent driver.

                                                 VIII.
                    DAMAGES TO PLAINTIFF DANNY PIUCE GARRETT

        8.17       As a direct and proximate result of the Defendants' negligent acts and/or

omissions set out above, Plaintifl:   DANNY PRICE GARRETT,      has suffered severe and permanent

physical injuries to his body in general. Said injuries have resulted in damages far in excess of the

minimum jurisdictional limits ofthis Court.

        8.18      Plaintiff seeks damages for the injuries he received as a direct and proximate

result of the accident made the basis of this lawsuit and Defendants' negligence:

                       a)        Pain and suffering in the past & future
                       b)        Disfigurement in the past & future
                       c)        Mental anguish in the past & future
                       d)        .Physical impairment in the past & future
                       c)        Medic~al charges in the past
                       f)        Medical charges in the future
                       g)        Loss of earnings in tbc past and
                                 loss of future wngcs enrning capacity
                       h)        Property dnmage nnd loss of usc of vehicle
                       i)        Jlrc-judgment interest
                       j)         Post-judgment interest




PLAINTIFF'S 0JUC;JNAL PETITION                                                           Page 6
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                                                    IX.
                                         DEMAND Ji'OR .JURY

          9.19       Plaintiff respectfully requests a trial by jury and tenders his jury tee concurrently

 with filing of this action.

                                                    X.
                                                PRAYER

          10.20        WHEREFORE, PREMISES CONSIDEIUW,            JllaintifTprays that the Defendants

 be cited to appear and answer herein; that upon final trial hereo1: Plaintiff has judgment against

 the Defendants, jointly and severely, for the full amount of his damages, as herein alleged; pre-

judgment interest and post-judgment interest at the legal rate; costs of Court; and such other and

further relief to which he may show himself to be justly entitled.




                                                 Respectfully submitted,




                                                .Jesse Quackeubus 1
                                                State Bar No. 16421975
                                                801 S. FiiJmo ..e, Suite 460
                                                Amarillo, Texas 79101
                                                TeiCJ1hone: (806) 374"4024
                                                Facsimile: (806) 352-0073
                                                jesseqlf@{gmail.com
                                                ATTORNEY FOR l)LAINTili'F

                                                                                  Filed
                                                                                  Caroline Woodburn
                                                                                  District Clerk
                                                                                  2/23/2017 3:00:25 PM
                                                                                  Potter County, Texas
                                                                                  By             Deputy



I~LAINTIFJI'S ORIGINAL PKI'ITION                                                             Page 7
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                                                                        Service of Process
                                                                        Transmittal
                                                                        03/02/2017
                                                                        CT Log Number 530787540
TO:     Evelyn Shadley, Legal Assistant
        Enterprise Holdings, Inc.
        600 Corporate Park Dr
        Saint Louis, MO 63105-4211

RE:     Process Served in Oklahoma

FOR:    EAN Holdings, LLC (Domestic State: DE)




ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

TITLE OF ACTION:                  Danny Price Garrett vs. James Walter Cave and EAN Holdings, LLC
DOCUMENT(S) SERVED:               Citation, Return, Original Petition
COURT/AGENCY:                     108th District Court - Potter County, TX
                                  Case # V10623100E
NATURE OF ACTION:                 Personal Injury - Vehicle Collision - 10/10/2016
ON WHOM PROCESS WAS SERVED:       The Corporation Company, Oklahoma City, OK
DATE AND HOUR OF SERVICE:         By Certified Mail on 03/02/2017 postmarked on 02/28/2017
JURISDICTION SERVED :             Oklahoma
APPEARANCE OR ANSWER DUE:         By 10:00 a.m. on the Monday next following the expiration of 20 days after service
ATTORNEY(S) / SENDER(S):          Jesse Quackeubush
                                  Quackeubush Law Firm
                                  801 S. Fillmore, Suite 460
                                  Amarillo, TX 79101
                                  806-374-4024
ACTION ITEMS:                     SOP Papers with Transmittal, via UPS Next Day Air , 1Z0399EX0113322192

                                  Image SOP

                                  Email Notification, Brian Braunstein Brian.S.Braunstein@ehi.com

                                  Email Notification, Evelyn Shadley EVELYN.SHADLEY@EHI.COM

SIGNED:                           The Corporation Company
ADDRESS:                          1833 South Morgan Road
                                  Oklahoma City, OK 73128
TELEPHONE:                        214-932-3601




                                                                        Page 1 of 1 / AJ
                                                                        Information displayed on this transmittal is for CT
                                                                        Corporation's record keeping purposes only and is provided to
                                                                        the recipient for quick reference. This information does not
                                                                        constitute a legal opinion as to the nature of action, the
                                                                        amount of damages, the answer date, or any information
                                                                        contained in the documents themselves. Recipient is
                                                                        responsible for interpreting said documents and for taking
                                                                        appropriate action. Signatures on certified mail receipts
                                                                        confirm receipt of package only, not contents.
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   DISTRICT CLERK, POTTER COUNTY                                                                         · lt. ~· :;;.'    !;'EF
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                                        THE CORPORATION COMPANY
                                        1833 SOUTH MORGAN ROAD
                                        OKLAHOMA CITY, OK 73128
     Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17 Page 13 of 20 PageID 18
                                    POTTER COUNTY
                                 Caroline Woodburn
P.O. Box 9570                      DISTRICT CLERK                       (806) 379-2300
Amarillo, Texas 79105-9570                                         Fax: (806) 372-5061
501 s. Fillmore - Suite 1B                            districtclerk@co.potter.tx.us
===========================================================================
 THE STATE OF TEXAS
 CIVIL
                         CITATION--CERTIFIED MAIL
                            CAUSE NO. V-106231-00-E
 DANNY PRICE GARRETT VS. JAMES WALTER CAVE AND EAN HOLDINGS, LLC
 IN AND FOR THE: 108TH DISTRICT COURT
 TO:     EAN HOLDINGS, LLC BY SERVING ITS REGISTERED AGENT
         THE CORPORATION COMPANY
         1833 SOUTH MORGAN ROAD
         OKLAHOMA CITY, OK 73128


 NOTICE: YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF YOU OR YOUR
 ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO ISSUED THIS
 CITATION BY 10:00 A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION OF
 TWENTY DAYS AFTER YOU WERE SERVED THIS CITATION AND PETITION, A DEFAULT
 JUDGMENT MAY BE TAKEN AGAINST YOU.
 THE ADDRESS OF THE CLERK IS SHOWN ABOVE. THE PLAINTIFF'S PETITION WAS
 FILED ON: FEBRUARY 23, 2017 IN THE 108TH DISTRICT COURT LOCATED AT
 AMARILLO, POTTER COUNTY, TEXAS.
 ATTACHED HERETO IS: PLAINTIFF'S ORIGINAL PETITION

 THE ATTORNEY FOR TIIE PLAINTIFF ISa JESSE QUACKENBUSH, 801 S FILLMORE,
 STE 460, AMARILLO, TEXAS 79101, (806) 374-4024.

 THIS CITATION WAS EXECUTED BY MAILING A TRUE COPY OF IT TO THE DEFENDANT
 AND ADDRESS NAMED ABOVE BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED WITH
 A TRUE COPY OF THE PETITION ATTACHED.
                                                               ,,,   ...... ,,
 ISSUED AND GIVEN UNDER MY HAND AND SEAL ON:         FE~~~~-~~~)''J,,17
                                        CAROLINE     WOQ~U               'LER~~ THE COURT
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     Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17 Page 14 of 20 PageID 19
                                    POTTER COUNTY
                                 Caroline Woodburn
P.O. Box 9570                      DISTRICT CLERK                       (806) 379-2300
Amarillo, Texas 79105-9570                                         Fax: (806) 372-5061
501 S. Fillmore - Suite 1B                            districtclerk@co.potter.tx.us
===========================================================================
 OFFICER'S RETURN---CERTIFIED MAIL
 Cause No. V-106231-00-E in the 108TH DISTRICT COURT
 Style: DANNY PRICE GARRETT VS. JAMES WALTER CAVE AND EAN HOLDINGS, LLC
 This CITATION was executed by mailing an exact copy of it with an exact
 copy of the PLAINTIFF'S ORIGINAL PETITION attached, to the defendant(s)
 and addressed named above by certified mail, return receipt requested.
 Date Mailed:                        -=+="'-bb 'f)..] , 2ol.Et
 Certified Mail #:        01-/14 '/:;..(,~ '11f7i 2,og 0 {p'-/7;; 3/
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 THE STATE OF TEXAS                                                                 OF POTTER
 The return receipt was received on the       day of                                       20    '
 bearing a delivery date of                                                    20      , and I"S
 attached hereto and made a part of this return.

                                     CAROLINE WOODBURN, CLERK OF THE COURT
                                     POTTER COUNTY, TEXAS
                                     By: _____________________________________ , Deputy

 Before me, the undersigned authority, personally appeared:
                                                                     , who after being duly sworn,
 -s~t-a~t-e-a~~trh-a~t~t~h-e---arb_o_v_e__f~a--c~t-s__a_r_e--~t-r_u_e-and correct, subscribed and sworn
 to before me on this the                                     day of                        , 20


                                  -----------------------------------------' Notary
 My Commission Expires:
      Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17   Page 15 of 20 PageID 20
                                     POTTER COUNTY
                                   Caroline Woodburn
P.O. Box 9570                       DISTRICT CLERK                       (806) 379-2300
Amarillo, Texas 79105-9570                                          Fax: (806) 372-5061
501 S. Fillmore - Suite 1B                               districtclerk@co.potter.tx.us
===========================================================================
 THE STATE OF TEXAS
 CIVIL
                           CITATION--CERTIFIED MAIL
                              CAUSE NO. V-106231-00-E
 DANNY PRICE GARRETT VS. JAMES WALTER CAVE AND EAN HOLDINGS, LLC
 IN AND FOR THE: 108TH DISTRICT COURT
TO:       EAN HOLDINGS, LLC BY SERVING ITS REGISTERED AGENT
          THE CORPORATION COMPANY
          1833 SOUTH MORGAN ROAD
          OKLAHOMA CITY, OK 73128


NOTICE: YOU HAVE BEEN SUED. YOU MAY EMPLOY AN ATTORNEY. IF YOU OR YOUR
ATTORNEY DO NOT FILE A WRITTEN ANSWER WITH THE CLERK WHO ISSUED THIS
CITATION BY 10:00 A.M. ON THE MONDAY NEXT FOLLOWING THE EXPIRATION OF
TWENTY DAYS AFTER YOU WERE SERVED THIS CITATION AND PETITION, A DEFAULT
JUDGMENT MAY BE TAKEN AGAINST YOU.
THE ADDRESS OF THE CLERK IS SHOWN ABOVE. THE PLAINTIFF'S PETITION WAS
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AND ADDRESS NAMED ABOVE BY CERTIFIED MAIL, RETURN RECEIPT REQUESTED WITH
A TRUE COPY OF THE PETITION ATTACHED.

ISSUED AND GIVEN UNDER MY HAND AND SEAL
                                                                            THE COURT



                           (OFFICER'S RETURN




 OIUGINAL FOR RETURN
     Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                      Page 16 of 20 PageID 21
                                                 POTTER COUNTY
                                               Caroline Woodburn
P.O. Box 9570                                   DISTRICT CLERK                             (806) 379-2300
Amarillo, Texas 79105-9570                                                            Fax: (806) 372-5061
501 s. Fillmore - Suite lB                                                 districtclerk®co.potter.tx.us
===========================================================================
OFFICER'S RETURN---CERTIFIED MAIL
Cause No. V-106231-00-E in the 108TH DISTRICT COURT
Style: DANNY PRICE GARRETT VS. JAMES WALTER CAVE AND EAN HOLDINGS, LLC
This CITATION was executed by mailing an exact copy of it with an exact
copy of the PLAINTIFF'S ORIGINAL PETITION attached, to the defendant(s)
and addressed named above by certified mail, return receipt requested.
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My Commission Expires:
Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17 Page 17 of 20 PageID 22
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                         EAN HOLDINGS, LLC
                         BY SERVING ITS REGISTERED AGENT
                         THE CORPORATION COMPANY
                         1833 SOUTH MORGAN ROAD
                         OKLAHOMA CITY, OK 73128



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                  TO:        EAN HOLDINGS, LLC
                             BY SERVING ITS REGISTERED AGENT
                             THE CORPORATION COMPANY
                             1833 SOUTH MORGAN ROAD
                             OKLAHOMA CITY, OK 73128

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  Case 2:17-cv-00059-J
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                                                                                       Potter County, Texas
8352
                                                                                       By ________ Deputy
                                    CAUSE NO. 106231-E

 DANNY PRICE GARRETT                            §    IN THE DISTRICT COURT
                                                §
 v.                                             §    108th JUDICIAL DISTRICT
                                                §
 JAMES WALTER CAVE AND EAN                      §    POTTER COUNTY, TEXAS
 HOLDINGS, LLC

       DEFENDANT ENTERPRISE LEASING COMPANY OF CIDCAGO, LLC,
       INCORRECTLY NAMED AS HOLDINGS, LLC'S ORIGINAL ANSWER

TO THE HONORABLE JUDGE OF SAID COURT:

       COMES NOW ENTERPRISE LEASING COMPANY OF CHICAGO, LLC,

INCORRECTLY NAMED AS EAN HOLDINGS, LLC, Defendant named in the above

entitled and numbered cause, and files this its Original Answer, and for same would respectfully

show unto the Court as follows:

                                                I.
                                       GENERAL DENIAL

       Defendant denies each and every, all and singular, the material allegations contained

within Plaintiffs pleadings and demands strict proof thereof.

                                               II.

       WHEREFORE, PREMISES CONSIDERED, Defendant ENTERPRISE LEASING

COMPANY OF CHICAGO, LLC, INCORRECTLY NAMED AS AN HOLDINGS, LLC

prays that the Plaintiff take nothing by this suit, that Defendant go hence with its costs without

delay, and for such other and further relief, both general and special, at law and in equity, to

which Defendant may show itself justly entitled.




DEFENDANT ENTERPRISE LEASING COMPANY OF CHICAGO, LLC, INCORRECTLY NAMED AS
EAN HOLDINGS, LLC'S ORIGINAL ANSWER                                  PAGE 1
  Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17              Page 19 of 20 PageID 24



                                           Respectfully submitted,

                                           FEE, SMITH, SHARP & VITULLO, L.L.P.



                                          ~4=
                                           State Bar No. 18542275
                                           13155 Noel Rd.
                                           Suite 1000
                                           Dallas, TX 75240
                                           (972) 934-9100
                                           (972) 934-9200 (Fax)
                                           bsmith@feesmith.com

                                           ATTORNEYS FOR DEFENDANT
                                           ENTERPRISE LEASING COMPANY OF
                                           CHICAGO, LLC, INCORRECTLY NAMED
                                           AS EAN HOLDINGS, LLC


                             CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing is being
served upon all parties in accordance with the Texas Rules of Civil Procedure, on this the
 2-Y t~ day of March, 2017 as follows:
Via Certified Mai/IRRR
Jesse Quackenbush
Quackenbush Law Firm
801 South Fillmore
Suite 460
Amarillo, TX 791 01




                                                               Filed
                                                               Caroline Woodburn
                                                               District Clerk
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                                                               Potter County, Texas
                                                               By ________ Deputy
DEFENDANT ENTERPRISE LEASING COMPANY OF CHICAGO, LLC, INCORRECTLY NAMED AS
EAN HOLDINGS, LLC'S ORIGINAL ANSWER                                  PAGE 2
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                    Case 2:17-cv-00059-J Document 1-1 Filed 03/31/17                                                     ...~--~a
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                                                                                                                               PageID    ne Woodburn
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                                                                    Potter County,_Texas
    REQUEST FOR COPIES AND/OR SEARCH FOR POTTER COUNTY FAMILY AND CIWJ- RECOR~eputy


TEXAS GOVERNMENT CODE § 51.318 Fees Due When Service Performed or Requested.
(b)    (3) for searching files or records to locate a cause when the docket number is not provided.                         $5.00
       (4) for searching files or records to ascertain the existence of an instrument or record in the
           District clerk's office                                                                                          $5.00
       (7) for a certified copy of a record, judgment, order, pleading, or paper on file or of record in
           the district clerk's office, including certificate and seal, for each page or part of a page                     $1.00
       (8) for a noncertified copy, for each page or part of a page not to exceed $1 .00                                    $ .50

                                    THESE FEES DUE PAYABLE TO POTTER COUNTY DISTRICT CLERK


Return this form along with payment for the required fees. (Fees may be waived for Government Agencies)
District Clerk, Potter County, P.O. Box 9570, Amarillo, TX 79105
Or
Contact the Family Department at 806.379.2319 or Civil Department at 806.379.2301 to obtain an alternative method of submitting this request and to determine
lhe page count of the requested documenvs.

This office accepts the following forms of payment:
                Money order
                Cashier's check (th is office does not accept personal checks)
                Credit or debiVcredit card payment

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Record Searc h: Type of Case (circl e one) Divorce/Family Case or Civil Case
Name(s) to be searched:
Approximate Year/s to be searched: - - - - - - -- --                          - - - - - - - - -- - -- - - - - -
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Copies: Type of Case (ci rcle one) Divorce/Family Case or Civil Case
*Add $5.00 as an additional search fee for obtaining the cause number If not provided

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Name/type/description of document(s) to be copied:              o. Y- Be . s v1""1.1.)1, ~y
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Ptease specify how you would like copies to be returned:
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0Non Certified copies (mailed back) - $.50 per page, ••a self-addressed stamped envelope Is required
~mailed back (non-certified documents only) - $5 per document
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Name:      A.R."'t'J: ~wALA
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